For the written reasons handed down this day in the consolidated cases of Ethel Scott v. Richard et al. and Elmo Scott v. Richard et al., La. App., 24 Sc.2d 175, the judgment appealed from is hereby amended so as to decree a judgment against all defendants, namely: Mrs. Ayeline LeBoeuf Richard, widow of Luke Richard, Sr., Luke Richard, Jr., Ernest Daigle and Nouga Babin, jointly and in solido, and as thus amended the judgment is affirmed. Defendants to pay all costs.
It is further ordered that that portion of the judgment ordering plaintiff's suit dismissed as against the defendants Mrs. Luke Richard, Sr., and Luke Richard, Jr., be and the same is hereby reversed and set aside. *Page 180 